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                                                     USDCSDNY
UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA

                      Plaintiff,
                                                   13 Cr. 897    (RWS)
     - against -
                                                         OPINION

BLADIMIR RIGO,

                      Defendant.
----------------------------------------x
A P P E A R A N C E S:


          Attorney for Plaintiff

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Sweet, D.J.


             Defendant Bladimir Rigo ("Rigo" or "Defendant") was

sentenced by this Court to 38 months of incarceration and

ordered to pay $2.9 million in restitution upon his guilty plea

to consp ir acy to commit healthcare fraud and to commit

adulteration and distribution of prescription medication . On

appeal of his sentence , th e Second Circuit Court of Appeals

remanded the case to this Court for reconsideration of the loss

amount attributable to Rigo , directing the Court to make

particularized findings as to t h e foreseeability and scope of

the criminal activity ascribed to Rigo. Upon the facts and

conclusions set forth below, the l oss attributab l e to Rigo is

$2 . 9 million.



I.    Prior Proceedings and Facts




             Familiarity with the prior proceedings and facts set

forth in the Court 's prior opinions is assumed . See United

States v . Rigo , 86 F . Supp . 3d 235   (S . D. N.Y . 2015) ; see also

United States v . Rigo , No . 13 Cr . 897   (RWS) , 2015 WL 2240309

(S.D . N. Y. May 12, 2015) . A summary of relevant facts i s set

forth be l ow .




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            On November 14, 2013, Rigo was charged in a two-count

indictment. Count One charged Rigo with conspiracy to commit

healthcare fraud and Count Two charged Rigo with consp iracy to

commit adulteration and unlawful wholesale distribution of

prescription medications.



            The charges stem from Rigo's participation in a large-

scale scheme to obtain various prescription medications-

typically those prescribed to treat HIV and AIDS-which had

previously been dispensed to indi v iduals in Newark, New Jersey

and elsewhere , and then to attempt to cause these bottles to re-

dispensed as "new" to unsuspecting patients. The drugs involved

in this scheme were not controlled substances, but rather brand-

name pharmaceuticals used exclusively by patients with valid

prescriptions and for which the price tags, almost always paid

by ins urance programs such as Medicaid, ran into the thousands

of do llars per bottle.



           The scheme worked, in general terms, as follows:

first,   the lowest level participants in the scheme (the

"Insurance Beneficiaries") filled prescriptions for month-long

supplies of drugs at pharmacies throughout the country,

including in the Southern District of New York and the Newark,

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      )




           New Jersey area. These Insurance Beneficiaries were typically

           HIV or AIDS patients who paid little or no money of their own

           for the drugs in question because their insurance plans,

           typically Medicaid, footed the bill. The Insurance Beneficiaries

           then sold their bottles of medication for cash at locations like

           street corners and bodegas to other participants in the scheme,

           referred to in the investigation as "Collectors." Collectors, in

           turn, sold the second-hand bottles to "Aggregators" who bought

           large quantities of second-hand drugs from multiple Collectors.

           Eventually, the second-hand drugs made their way to corrupt

           distributors and pharmacies willing to re-dispense these second-

           hand drugs to unsuspecting consumers.



                        Health care benefit programs, such as Medicaid, were

           defrauded twice in this scheme. On the front end, health care

           benefit programs were fraudulently induced into paying for these

           drugs under the false representation that the drugs were for the

           sole intended use of the program beneficiary, i.e., the

           Insurance Beneficiary. On the back end of the scheme,

           participants fraudulently concealed the true, illegitimate

           source of the bottles thereby fraudulently inducing health care

           benefit programs to pay for the exact same bottles a second

           time.




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                       Rigo participated in this scheme as an Aggregator

             based in Newark, New Jersey. From at least 2000 up until his

             arrest in 2013, Rigo purchased large numbers of these bottles of

             second-hand medications before selling them to even high-level

             scheme participants for cash. To facilitate his activities, Rigo

             employed workers who would act as Collectors and purchase

             bottles of second-hand medications from the Insurance

             Beneficiaries. Among others, Rigo employed Arcadia Reyes-Arias

             and Rogelio Leyba who, for a period of approximately five years

             from at least 2000 through about 2005, bought significant

             numbers of bottles of these medications for Rigo to resell.

             After that time period, both Reyes-Arias and Leyba went off on

             their own, opening their bodegas from which they continued to

             work in furtherance of the the scheme with Rigo and others.



                       To make the scheme work, the bottles purchased by Rigo

             and others needed to be "cleaned"; that is, the patient labels

             affixed when the bottles were initially dispensed to the

             Insurance Beneficiaries needed to be removed so that the bottles

             would appear to be new. To "clean" the bottles, Rigo and his co-

             conspirators doused the medication bottles with lighter fluid or

             a similar chemical to melt off the initial patient label. As

             inspection of bottles recovered during the investigation

             confirmed, this process of "cleaning" was inherently dangerous:

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testing of the bottles showed that the "cleaning" materials

frequently seeped int o the bottles and contaminated the pills

themselves with chemicals known to be dangerous or even fatal if

swallowed.



             Rigo was arrested on September 17, 2013 and pleaded

guilty to his participation in the conspiracy on April 23 , 2014

without an agreement with the Government.



             In October 2014, this Court held a hearing pursuant to

United States v. Fatica,    603 F.2d 1053 (2d Cir. 1979) focused on

the issue of the loss amount properly attributable to Rigo. The

Government called three witnesses. One of its witnesses was

Reyes-Arias, who testified pursuant to a cooperation agreement

with the Government and who, as noted above, worked for and then

with Rigo as part of the conspiracy for many years prior to

their arrests. As the Court heard from each of the witnesses at

the Hearing and fr om Rigo himself via a consensual recording

made during the investigation, Rigo was a large-scale Aggregator

in the scheme between at least 2000 and his arrest in 2013.

During that time, Rigo aggregated bottles of these second-hand

medications by employing workers in his bodega to purchase the

medicines from Insurance Beneficiaries on the streets of Newark,

New Jersey and by buying bottles from ot her, independent

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          Collectors.



                    Based on the evidence presented at the Fatica hearing,

          this Court concluded that Rigo 's involvement in this consp iracy

          spanned many years , that Rigo was a "principal player in the New

          Jersey branch" of this nationwide scheme, and that Rigo was

          consistently involved in planning and consummat ing transactions

          involving hundreds of thousands of dollars in second-hand

          medications. Rigo, 86 F. Supp. at 241 -4 2 . During the time per i od

          l eading immediately up to the arrest-a period for which evidence

          of precise transactions was more readil y available-this Court

          found that Rigo's conduct involved at l east $2.9 million worth

          of second-hand medications.



                    In reaching that figure, the Court determined that:

          (1 ) Rigo was responsible for his December 20 1 2 purchase of

          medications from Reyes - Arias having an approximate Med i caid

          value of $300,000;   (2) Rigo was responsible for an unconsummated

          September 2012 purchase from Reyes -Arias and Leyba having an

          approximate value of $250 ,0 00 . The Court treated these as

          roughly $500 , 000 of the total l oss attributable to Rigo. These

          findings and this loss amount are not at issue on remand.



                    The Court 's loss calculat i on also included nearly $2.4

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            million worth of sales of second-hand medications documented in

            a series of drug ledgers. At the time of Rigo's arrest, agents

            recovered four notebooks, and introduced them into evidence as

            Government's Exhibits 204-207 at the Fatico hearing. Hr'g Tr.

            100:2-14. Found folded up in two of the notebooks were twelve

            loose sheets of paper containing what appear to be handwritten

            lists of prescription medications,      some containing dollar

            amounts and quantities. Hr'g Tr. 101:11-13; Mohan Deel. Ex. L

            (GX-202). The ledgers reflected logs of nearly 2,700 bottles and

            over 168,000 pills of black market drugs.



                      Some of the pages in the ledgers seemed to be written

            in Rigo's handwriting while other pages appeared to contain the

            handwriting of other co-conspirators. At the Fatico hearing,

            Reyes-Arias identified certain pages in the ledger as bearing

            his handwriting and reflecting lists of second-hand medication

            that he was offering for sale to Rigo. Rigo was deemed liable

            for the value of all of the medications reflected in the ledgers

            because he was responsible for the plans and intentions of the

            conspiracy, whether consummated or not. The decision to include

            the $2.4 million in value based on the drug ledgers was

            "corroborated [by] Reyes-Arias' testimony regarding the

            magnitude of Rigo's involvement in this conspiracy from 2005-

            2012, as well as Rigo's self-characterization as a principal

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                player in the New Jersey branch of the market." Rigo, 86 F.

                Supp. at 241.



                             By written opinion in May 2015 , Rigo was sentenced to

                48 months'    imprisonment and ordered to pay $2.9 million in

                restitution following his release fr om federal custody. Rigo,

                2015 WL 2240309 at *l. At the sentencing proceeding, Riga's

                sentence was reduced to 38 months' imprisonment.



                             Rigo appealed from the June 2, 2015 judgment of

                conviction, arguing that his sentence was procedurally unsound

                because the Court did not make the two-pronged finding required

                by United States v. Studley,    47 F.3d 569 (2d Cir. 1995), before

                determining that the entire calculated amount of loss derived

                from the drug ledgers was attributable to him. On May 23, 2016 ,

                the Court of Appeals issued a summary order remanding the case

                to this Court for resentencing. United States v. Rigo, 649 F.

                App'x 107, 109 (2d Cir. 2016)     (summary order). The Court of

                Appeals specifically noted that it was remanding "without

                placing a thumb on the scale with respect to what the District

                Court's particularized findings under Studley should be. We

                recognize that, on remand, the District Court's loss calculation

                may be no different than it was in the first instance." Id.




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                           The hearing was completed and argument heard on

             October 27, 2016, at which point the motion was marked fully

             submitted .



             II .   Applicable Law


                           When the defendant has undertaken a criminal activity

             together with others , he is held accountab l e for "al l reasonably

             foreseeable acts and omiss i ons of others in furtherance of the

             joint l y undertaken criminal activity." U. S . S . G.     §

             1131.3(a) (1) (13). However , " [t ] he scope of conduct for which a

             defendant can be held accountable under the sentencing

             guide l ines is significantly narrower than the conduct embraced

             by the law of conspiracy ." United States v . Perrone , 936 F . 2d

             1403 , 1416 (2d Cir. 1991) ; see U.S . S . G.   §   181 . 3 cmt . n . 1. This

             is because " the emphasis in substantive conspiracy liability is

             the scope of the entire conspiracy, " whi l e "the emphasis under

              [the Guidelines] is the scope of the individual defendant ' s

             undertaking . " United States v . Spotted Elk , 548 F.3d 641 , 673 - 74

              (8th Cir.2008)    (emphases in original) . As the commentary to the

             re l evant section of the Guidelines explains:

                           the accountability of the defendant for the acts of
                           others is limited by the scope of his or her agreement
                           to jointly undertake the particular criminal activity.
                           Acts of others that were not within the scope of the
                           defendant ' s agreement , even if those acts were known
                           or reasonably foreseeable to the defendant , are not

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                              relevant conduct

              for sentencing purposes . U. S . S . G. § lBl . 3 cmt . n . 3(B) ; see also

              United States v . Johnson , 378 F . 3d 230 , 238       (2d Cir. 2004)   (mere

              knowledge of murder committed by coconsp i rator insufficient even

              where it was within scope of overall operation ; murder mu st be

              within scope of spec i fic conduct and objectives agreed to by

              defendant) .



                              To satisfy the Guide l ines ' narrower approach to

              sentencing conspirators , the Second Circuit announced in United

              States v . Studley , 47 F . 3d 569 (2d Ci r. 1995) , that "[i]n order

              to ho l d a defendant accountable for the acts of others .               a

              district court must make two findings: 1) that the acts were

              within the scope of the defendant ' s agreement and 2) that they

              were foreseeable to the defendant." United States v. Johnson ,

              378 F . 3d 230 , 238    (2d Cir . 2004)    (quoting Studley, 47 F . 3d 569

              at 574) ; see also United States v . Getto , 729 F . 3d 221 , 234        (2d

              Cir . 20 1 3)    ("Before sentenc i ng a defendant based on the conduct

              of coconspirators,            . a district court is required to make

              two particularized findings :       (1) that the scope of the activity

              to wh i ch the defendant agreed was suffic i ently broad to inc l ude

              the relevant , coconspirator conduct in question ; and (2) that

              the relevant conduct on the part of the coconsp i rator was

              foreseeable to the defendant . "      (alterations and internal

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 quotation marks omitted)) . Particularized findings are required ,

 and the determinations must be made sequentially : The sentencing

 court "'must first determine the scope of the criminal activity

 the particular defendant agreed to jointly undertake'

 before the issue of foreseeabi l ity , prong two , is reached ."

 Studley, 47 F.3d at 573-74      (quoting U. S.S.G .   §   lBl.3 cmt . n . 2) .



III.   The Losses Derived from the Drug Ledgers Are Properly
       Attributed to Rigo


             Because Rigo concedes foreseeability,          Def . Br. 11, the

 issue on this remand is limited to whether the drug l edger

 losses attributed to Rigo satisfy the first prong of Studley :

 that the activity was within the scope of the criminal activity

 that Rigo agreed to undertake . Rigo argues that the Government

 has not met its burden of proving that the $2 . 4 million in

 losses derived from the handwritten ledgers are attributable to

 him as "jointly undertaken activity " under U.S.S.G .          §

 lBl. 3 (a) ( 1) ( B) and therefore the Court cannot make the

 particularized findings necessary to meet the Studley prong . As

 set forth below, the evidence elicited by the Government is

 sufficient to allow this Court to make particularized findings

 that the conduct reflected in the drug ledgers was within the

 scope of Rigo ' s conspiratorial agreement .




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                          To determine the scope of the criminal activity that a

           particular defendant agreed to jointly undertake, a court must

           discern "the scope of the specific conduct and objectives

           embraced by the defendant 's agreement." Studley,                   47 F.3d at 574

           (quoting U.S.S.G. § 181.3 cmt . n. 2) . "In determining the scope

           of the criminal activity that the particular defendant agreed to

           jointly undertake (i . e . the scope of the specific conduct and

           objectives embraced by the defendant's agreement), the court may

           consider any explicit agreement or implicit agreement fairly

           inferred fr om the conduct of the defendant and others ." U.S.

           Sentencing Guidelines Manual§ 181.3 app. n. 2 . The defendant's

           awareness of the scope of the overall operation is not enough to

           hold him accountable for the activities of the entire operation ;

           rather, the "relevant inquiry is what role the defendant agreed

           to play in the operation , either by an explicit agreement or

           implicitly by his conduct ." Studley, 47 F.3d at 575 (citing

           U. S . S . G . § 181 . 3 , cm t . n . 2 i 11 us . ( c ) ( 7 ) ) .



                          Quantities of drugs for which a defendant may be he l d

           liable must be proven by "specific evidence." United States v .

           Archer, 671 F.3d 149, 1 65 (2d Cir . 2011). Specific evidence can

           be found in drug records, admissions by the defendant, or li ve

           testimony. United States v. Shonubi ("Sh onubi IV"),                  103 F.3d

           1085, 1089-92 (2d Cir . 1997)                (explaining that while there was


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            "specific evidence" for drug quantities for one _of eight

            narcotics trafficking trips in the form of drug records,

            admissions , or testimony, that could not be multiplied by eight

            to determine the quantities for all the trips).



                       The fraudulent activity captured in the drug ledgers

            was known by Rigo individually and was fully within the scope of

            the activity agreed upon by Rigo . At the Fatica hearing, this

            Court heard extensive evidence that the scope of the criminal

            activity agreed upon by Rigo was exactly the sort of conduct

            reflected in the drug ledgers: bulk purchases of second - hand

            medications from multiple Collectors prior to resale of those

            medications . Three witnesses-Reyes-Arias, Detective Anthony

            Romero , and Special Agent Antonio Rao-were offered by the

            Government to provide testimony as to Riga's specific role in

            the conspiracy .



                       Reyes - Arias testified that he worked for Rigo in

            furtherance of the scheme during the period of approximately

            1998 to 2012, first as a Collector in one of Riga ' s bodegas and

            later as an independent Collector selling prescription drugs to

            Rigo and others. Reyes-Arias '    testimony with regard to quantity

            of drugs he provided to Rigo varied, but when he was shown pages

            from the drug ledgers he recognized at least one page as bearing


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              his own handwriting. Tha t page contained a list of medications

              that Reyes-Arias had for sale and which Reyes-Arias had provided

              to Rigo who, in turn, filled in the prices per bottle Rigo was

              willing to pay for each. Hr'g Tr. at 47:8-49:5.



                         Detective Romero test ified to a recorded meeting that

              another participant in the scheme, Hermenegildo Fernandez,

              conducted with Rigo in September 2012 as part of his cooperation

              with the Government. See GX-211-T (meeting transcript). In the

              recordings, Rigo stated that he purchased medications from both

              Reyes-Arias and Leyba, and discussed future purchases from

              Reyes-Arias and Leyba. GX - 211-T at 13. Rigo proposed that

              Fernandez provide him with a customer and that Rigo would

              provide the medications, and that the two could split the

              proceeds of this future $25 , 000 deal equa ll y.    Id. During other

              portions of same recorded meeting , Rigo discussed his dealings

              with another known co - conspirator , Conrado Vasquez      ("Vasquez u ) ,

              a Miami-based Aggregator who was charged as part of a large,

              forty-eight defendant case and has since pled guilty to his

              participation in the charged conspiracy . See United States v.

              Viera , et al ., 11 Cr. 1072 (S.D .N.Y. 2011). Finally, the recorded

              meeting included a discussion of Ri go 's and Fernandez's relative

              importance in the prescription drug trade. Rigo described

              himself and Fernandez as "two big people in New Jerseyu that

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      were targets of the Government ' s investigation . GX-211 - T at 20 .



                 Finally , Special Agent Rao testified about the four

      journals seized from Rigo, from which the Government obta i ned

      the handwritten drug lists shown to Detective Romero and Reyes-

      Arias . See GX-202 . With respect to his interpretation of the

      ledgers , Agent Rao testified that "every time [he] saw the name

      of a drug with a number next to it [he] considered it to be a

      sale or contemplated sale " for the purposes of his loss

      calculation. Id. at 130 : 25-131:4 . Agent Rao noted that a "deal

      might or might not result " from the information reflected on the

      lists. Id . at 8-16 . Therefore , he testified, the basis for

      including the numbers from these lists in his l oss calculation

      was an assumption he made about what these lists represent.            Id .

      at 129 : 3-9 . Based on what entries in the drug ledgers Agent Rao

      considered to be a sale or contemplated sale, he prepared a loss

      calculation estimate . Agent Rao determined that the total

      Medicaid reimbursement value for the pills documented in the

      ledger was approximately $2.4 mill i on . A summary chart

      documenting Agent Rao ' s loss amount estimates was offered into

      evidence. See GX-212 .



                From this specific evidence and the record before it ,

      the Court makes the following findings regarding the scope of

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        Rigo ' s agreement . First, Rigo was one of at least " two big

        people in [the] New Jersey" area of the conspiracy . GX - 211 -T at

        20. On the recording with Fernandez, it was Rigo himself who

        characterized his role as that of a principal player in the New

        Jersey branch of this illegal market. Second , Rigo ' s role was

        that of an Aggregator of the second-hand med i cat i ons, working i n

        cooperation with many other co - consp irators involved in the

        scheme . He employed Reyes - Ar i as and other Co ll ectors , and he

        also bought the medications from independent Collectors. He

        considered himself on - par with Fernandez, another known

        Aggregator i n the scheme . Third , the lists found in the four

        notebooks were drug ledgers belonging to Ri go . The lists

        contained handwritten lists of drugs along wi t h quantities and

        pricing, and were found in Rigo ' s bedroom , in a notebook that

        also contained other personal documents be l ong in g to Rigo, such

        as a utility bill. Hr'g Tr. At 144-45. At least one of the pages

        appeared to be written in Rigo ' s handwriting , and at least one

        of the pages contained the handwriting of one of Ri go ' s known

        Collectors , Reyes - Arias. Fourth, as Reyes - Arias confirmed in his

        test i mony , the Collectors from whom Rigo purchased the second-

        hand medications sometimes wrote drug lists themselves,         rather

        than Rigo noting down the transactions . Fifth, the drug l edgers

        and testimony from Government witnesses corroborate the

        magnitude of Rigo ' s involvement in the scheme and his scope in

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t h e agreement to be a major buyer and se ll er of these second-

hand medications. The drug ledge r s catalogue over 168,000 pills ,

an amount that wou l d reasonably be expected to be bought and

sold from a "big person " in the conspiracy . All of these

particul ar findings l ead the Cour t to conclude t ha t the acts

captured on the drug l edgers found in Riga ' s bedroom were

squarely with i n the scope of the role that Rigo chose to take on

in this massive illegal scheme .



           The contrast of these facts with those in Studley is

instructive. There, the Second Circuit held that a salesman who

was defrauding customers was not responsible for the frauds of

h i s co - workers because th e defendant did not contribute

resources to the scheme , "had no interest in the success of the

operation as a whole , and took no steps to further the operat i on

beyond execut i ng h i s sales ." Studley , 47 F.3d at 576 . There was

no evidence that the defendant "assisted other sales

representatives with their sales , shared in the profits , or

participated in any way in the management of the operation ." Id.

at 573 .



           Unlike the defendant i n Studley , who did not

"contribute[ ] resources to the te l emarket i ng scheme ," see

Studley , 47 F . 3d at 576 , Rigo provided cr i t i ca l resources to the

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                  conspiracy : he employed and worked with Collectors to purchase

                  many bottles of second -hand medication. He played an integral

                  role in the conspiracy , particularly in New Jersey where he was

                  one of the "big people" making the operation happen.



                             Rigo's $2.4 million liability based on the drug

                  ledgers is limited only to the scope of his participation. The

                  scheme involved dozens of additional participants nationwide and

                  hundreds of millions of dollars' worth of second-hand

                  medications. This Court heard cons iderabl e ev iden ce about the

                  conduct of other scheme participants-including Fernandez, Leyba,

                  and Reyes-Arias, who were all co - conspirators of Rigo-but based

                  on the scope of Rigo's involvement, he cou ld reasonably be held

                  liabl e only for the drug ledgers recovered from his bedroom with

                  other personal effects, in which Reyes-Arias identifie d his own

                  handwriting, and reflecting the activities in which he was

                  engaged throughout his involvement with the consp iracy. This is

                  not a case in which Rigo is being held liable for a broader

                  array of conduct that he is merely "aware of." See Studley,            47

                  F.3d at 575   (noting that holding the defendant accountable for

                  all acts taken by the other conspirators requires evidence that

                  the defendant has pooled his profits or resources with the other

                  participants or otherwise "directly tied" his success to the

                  activities of the others , or has not only assisted in the

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           execution of the illegal scheme but in its design as well and

           citing U . S . S . G .   §   1B1 . 3 , cm t . n . 2 i 11 us . ( c ) ( 2 ) ,   ( c ) ( 6 ) ) ; see

           also United States v . Marsh , 820 F. Supp . 2d 320 , 340 (E.D.N.Y.

           2011) , as amended (Nov . 3 , 2011)                   (holding co - defendants of an

           investor fraud scheme jointly and severally liable pursuant to

           Studley because "[t]he defendants in this case worked together

           to defraud their victims and encouraged each other to perpetrate

           the fraud .              .").



                         The fact that the ledgers were not all written in

           Rigo 's hand does not render the $2.4 million loss estimate

           unsupported by specific evidence. Rigo pleaded guilty to

           participating in a conspiracy , and he is equally liable for the

           acts of his coconspirators , including others who may have

           written those lists, and the plans and intentions of the

           conspiracy so long as those acts were foreseeable to him and

           within the sc ope of his agreement. As the acts catalogued in the

           ledgers were fully foreseeable to Rigo and within the scope of

           Rigo's agreement to act as a "big person " and an Aggregator in

           the scheme, he is li able for the transactions reflected in the

           ledgers even though his co - conspirators may have written the

           lists. In the Fatica hearing, the Court heard testimony about

           why not all of the handwriting was the same , namely, because

           other co - conspirators , including Reyes-Arias , would prepare

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     hand-written lists of inventory that wou ld then be supplied to

     Rigo. Whether the lists were written by Rigo or by his co -

     conspirators, they reflected precisely the sort of conduct that

     he was engaged in, and they are thus within the scope of the

     criminal activity to which Rigo agreed. See Un it ed States v .

     Ankamah, No. S2 03 CR . 206 LBS, 2004 WL 744487 , at *5 (S .D.N.Y.

     Apr. 6, 2004)     (find ing that holding the defendant liable for his

     co-defendants' contribution to l oss satisfied Studley because

     "their efforts were not entirely isolated but rather

     intertwined," there was "significant collaborat i on and

     communication" among the co-defendants, and the co-defendants'

     "conduc t was in furtherance of a joint undertaking, in which

     Defendant participated" to commit tax fraud);        see also United

     States v. Eisner, No. 10-1192-cr, 20 11 WL 2411011 (2d Cir. June

     16, 201 1 )   (holding that defendant was responsible for co-

     defendant's conduct in Ponzi scheme where the defendant knew

     "the extent of the losses caused [by the] scheme .              , was

     instrumental in its initial development , and continued to

     participate in and profit from the scheme throughout [its]

     existence ").



                   The $2 .4 million loss calculat i on also remains

     supported by specific evidence even though some entries in the

     drug ledgers may have contained price bids rather than exec uted

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    transactions. The Court considered all of the evidence at the

    Fatica hearing and chose to credit Agent Rao's testimony as to

    the determination of which records to include in the loss

    calculation estimate. There is nothing in the record before the

    Court to suggest that these lists contain ing drug names ,

    quantities, and prices were anything other than Rigo 's drug

    transactions. The record evidence, including the testimony of

    Reyes-Arias about the or igin s of these ledgers and the scope of

    Rigo's conduct, Rigo's self-characterization as a principal

    player in the scheme during his conversat ion with co - conspirator

    Fernandez, and Agent Rao's testimony regarding his

    interpretation of the transactions provide sufficient evidence

    for the Court to find that these were actual transactions

    comp leted or contemplated by Rigo and his co-conspirators . Cf .

    U.S.S.G. §281.1 cmt 3(A)    (directing the sentencing court to use

    "the greater of actual or intended lossu)       (emphasis added).



              In accordance with the requirements of Studley, the

    Court expressly finds that Rigo jointly agreed to participate in

    the fraudulent purchases and distribution of the second-hand

    medications in the drug ledgers. The evidence provided by the

    Government sufficiently supports that the $2.4 million in losses

    based on the drug l edgers were fully foreseeable to Rigo and

    within the scope of the activity to which Rigo agreed .

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IV.   Conclusion


           For the reasons set forth above, and in accordance

with the remand from the Second Circuit, the loss reasonably

attributable to Rigo is determined to be $2.9 million.



           Because this re-sentencing takes place after revisions

to Guidelines Section 2Bl.l have been made effective, Rigo's new

total offense level is 23 instead of 25, resulting in an

applicable Guidelines range of 46 to 57 months'         imprisonment.

Pursuant to United States v. Booker, 543 U.S. 220 (2005), the

Guidelines and all of the factors set forth in 18 U.S.C.          §

3553(a), and based on the same reasoning as in the prior

sentencing opinion and hearing, the Court will depart downward

from the Guidelines range, and Rigo is sentenced to 38 months'

imprisonment.




           It is so ordered.



New York, NY
January 1.} , 201 7                                         SWEET
                                                      U.S.D.J.




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